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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



   UNITED STATES OF AMERICA

   v.                                                 CASE NO. 8:09-cr-349-T-30TGW

   ISAAC B. HERNANDEZ



                           FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the filing of the Motion (Doc. 81)

   of the United States of America for Entry of a Forfeiture Money Judgment against

   defendant Isaac B. Hernandez in the amount of $6,750.00 in U.S. currency,

   pursuant to the provisions of 21 U.S.C. § 853 and Rule 32.2(b)(2) of the Federal

   Rules of Criminal Procedure, which, at sentencing, will be a final judgment of

   forfeiture as to the defendant’s interest in property subject to forfeiture.

          WHEREAS the Court, being fully advised in the premises, finds that the

   government has established that the defendant obtained drug proceeds in the amount

   of $6,750.00, as a result of the conspiracy charged in Count One of the Indictment, in

   violation of 21 U.S.C. §§ 841(a)(1), 846, and 841(b)(1)(A)(iii), for which the

   defendant has been convicted by a Jury. (Doc. 70).

          And WHEREAS, pursuant to the provisions of 21 U.S.C. § 853(p), the United

   States is entitled to forfeiture of any property belonging to the defendant in

   satisfaction of such money judgment. Accordingly, it is hereby
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            ORDERED, ADJUDGED, and DECREED that the motion (Doc. 81) of the

   United States is GRANTED.

            IT IS FURTHER ORDERED that, pursuant to the provisions of 21 U.S.C. §

   853 and Fed. R. Crim. P. 32.2(b)(2), defendant Isaac B. Hernandez is jointly and

   severally liable to the United States of America, with co-defendants Pascaul Garnica

   and Jamie V. Valenzuela, for a forfeiture money judgment in the amount of

   $6.750.00.

            The Court retains jurisdiction to enter any orders necessary for the forfeiture

   and disposition of substitute assets, and to entertain any third party claims that may

   be asserted in these proceedings.

            DONE and ORDERED in Tampa, Florida on January 13, 2010.




   Copies furnished to:
   Counsel/Parties of Record
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